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UNITED STA'I`ES I)ISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

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KEITH BOUDREAUX, JR. )
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Plaintif't`, ) , "`
`) Case No. `i
V» > .
CHARTER CoMMnNic:A'noNS, INC. ) '8’; \%cv \° S` ?» 3 3 note
d/b/a SPECTRUM mir/a BRIGHT HoUsE )
NE.TwoaKs, LLC), )
)
Det`endant. )
PLAlN IFF’s 0MPLA1NI

     

Plaintiff, KEITH BOUDREAUX, jR. (“Plaintiff”) files this lawsuit for damages, and other
legal and equitable remedies, resulting from the illegal actions of Defendant, CHARTER
COMMUNICATIONS, INC. d/b/a SPECTRUM (f/k/a BRlGHT HOUSE NETWORKS, LLC)
(“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff"s
cellular telephone in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 el seq.
("TCPA").

JURISDICTION AND VENUE
l. Jurisdiction in this Court is proper pursuant to 28 U.S.C. § l33l as Plaintiff’s claims arise
under the laws of the United States.
2. This Court has federal question jurisdiction because this case arises out of violations of
federal law. 47 U.S.C. §227(b); Mz'ms v. Arrow Fl'n. Servs., LLC, 132 S. Ct. 740 (2012).

3. Defendant conducts business in Davenport, Polk County, Florida.

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Venue and personal jurisdiction in this District are proper because Defendant transacts
business in this District, and a material portion of the events at issue occurred in this
District.
PAR'I"IES

Plaintiff, is a resident of Davenport, Polk County, Florida
Defendant is headquartered in Stamford, Fairtield County. Connecticut.

FACTUAL ALLEGATIONS
Within four (4) years of Plaintit`fflling this Complaint, Defendant called Plaintift`s cellular
telephone numbers, ending in 2109 and 4382.
All of the telephone calls Defendant made to Plaintiff were an attempt to get Plaintiff to
Sign up for their services.
None of the calls Defendant made to Plaintiff were for an emergency purpose
Within four (4) years of Plaintiff filing this Complaint, Def`endant called Plaintiff’s cellular
telephone numbers from at least the following telephone numbers: 855-222-0102.
The following telephone number is one of Defendant’S many telephone numbers: 855~
222-0102.
Since Defendant began placing calls to Plaintiff, Plaintiff spoke with Defendant several
times and requested that Defendant stop calling Plaintiff’s cellular telephone
In or around 2014, Defendant was calling Plaintit`t’ s cellular telephone number, ending in
2109.
ln or around 2014, Plaintiff repeatedly told Defendant that he was not interested in their
services and requested Defendant to stop calling Plaintiff’s cellular telephone

Despite these repeated requests, Defendant continued to call Plaintiff.
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l6. In or around October 2017, due to the incessant amount of calls Plaintiff was receiving on
his cellular telephone, he changed his telephone number to xxx-xxx~4382.

l7. Despite Plaintiff changing his cellular telephone number, in or around November 2017,
Defendant began calling Plaintift`s cellular telephone number, ending in 43 82.

18. ln or around 2017, Plaintift` again told Defendant he was not interested in their services
and requested Defendant to stop calling Plaintift"s cellular telephone

19. Despite Plaintift’s repeated requests that Defendant stop calling Plaintift`s cellular
telephone, Defendant continued to call Plaintift’s cellular telephone..

ZOi (_)n several occasions when Plaintiff has answered Defendant’s calls, Plaintiff is met with
“dead air,” whereby no person was on the other end of the line, and then after a few
moments, he is connected with a live representative

21. Prior to calling Plaintifi`s cellular telephone numbers, Defendant knew the numbers were
cellular telephone numbers.

22. All of the calls Defendants made to Plaintift’s cellular telephone resulted in Plaintiff
incurring a charge for incoming calls.

23. During at least one conversation, Defendant learned that Plaintiff wanted Defendant to
stop calling Plaintift’ s cellular telephone,

24. Even if at one point Defendant had Plaintifi”s permission to call Plaintiff’s cellular
telephone numbers, Plaintiff repeatedly revoked this consent.

25. Defendant continued to call Plaintift’s cellular telephone after Defendant knew Plaintiff
wanted the calls to stop.

26. Within 4 years of Plaintiff filing this Complaint, Defendant used an automatic telephone

dialing system to call Plaintiff’s cellular telephone
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27. Within 4 years of Plaintiff filing this Complaint, Defendant called Plaintifl`s cellular
telephone in predictive mode.

28. Within 4 years of Plaintiff filing this Complaint, Defendant left pre-recorded voicemail
messages for Plaintiff on Plaintift`s cellular telephone

29. The telephone dialer system Defendant used to call Plaintift"s cellular telephone has the
capacity to store telephone numbers.

30. The telephone dialer system Defendant used to call Plaintift’s cellular telephone has the
capacity to call stored telephone numbers automatically

3l. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the
capacity to call stored telephone numbers without human intervention.

32. The telephone dialer system Defendant used to call Plaintifl’s cellular telephone has the
capacity to call telephone numbers in sequential order,

33. The telephone dialer system Defendant used to call Plaintift` s cellular telephone has the
capacity to call telephone numbers randomly.

34. The telephone dialer system Defendant used to call Plaintifi’s cellular telephone selects
telephone numbers to be called according to a protocol or strategy entered by Defendant.

35. The telephone dialer system Defendant used to call Plaintift`s cellular telephone
simultaneously calls multiple consumers

36. While Defendant called Plaintift`s cellular telephone, Plaintift’s cellular telephone line
was unavailable for legitimate use during the unwanted calls.

37. Defendant’s calls constitute calls that are not for emergency purposes as defined by 47
U.S.C. § 227(b)(l)(A),

38. The dead air that the Flaintiff experienced during the phone calls he received is indicative
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of the use of an automatic telephone dialing system. This “dead air” is commonplace with
autodialing and/or predictive dialing equipment lt indicates and evidences that the
algorithm(s) being used by Defendant’s autodialing equipment to predict when the live
human agents are available for the next call has not been perfected and/or has not been
recently refreshed or updated. Thus, resulting in the autodialer placing a call several
seconds prior to the human agent’s ability to end the current call he or she is on and be
ready to accept the new connected call that the autodialer placed, without human
intervention, to Plaintiff. The dead air is essentially the autodialer holding the calls it
placed to Plaintiff until the next available human agent is ready to accept them. Should the
calls at issue been manually dialed by a live human being, there would be no such dead air
as the person dialing Plaintift"s cellular telephone would have been on the other end of the
call the entire time and Plaintiff would have been immediately greeted by said person.

39. As a result of Defendant’s alleged violations of law by placing these automated calls to
Plaintiff’s cellular telephone without prior express consent, Defendant caused Plaintiff
harm and/or injury such that Article lll standing is satisfied in at least the following, if not

more, ways:

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Invading Plaintiff’s privacy;

b. Electronically intruding upon Plaintift’s seclusion;

c, lntrusion into Plaintiff’ s use and enjoyment of her cellular telephone;

d. lmperinissibly occupying minutes, data, availability to answer another call, and
various other intangible rights that Plaintiff has as to complete ownership and use
of her cellular telephone;

e. Causing Plaintiff to expend needless time in receiving, answering, and attempting
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to dispose of Defendant’s unwanted calls.

DEFENDANT VIOLATED THE
TELEI’HONE CONSUMER PROTECTION AC'I`

40. Defendant’s conduct violated the TCPA by:

a. Placing non-emergency telephone calls to Plaintist cellular telephone using an
automatic telephone dialing system and/or pre_recorded or artificial voice in
violation of47 U.S.C. § 227 (b)(l)(A)(iii).

WHEREFORE, Plaintiff, KEITH BOUDREAUX, JR., respectfully requests judgment be
entered against Defendant, CHARTER COMMUNICAT[ONS, lNC. d/b/a SPECTRUM (f/k/a
BRIGHT HOUSE NETWORKS, LLC), for the following:

41. As a result of Defendant’s negligent violations of 47 U.S`C. 227(b)(l), Plaintiff is entitled

to and requests $500.00 in statutory damages, for each and every violation, pursuant to 47

U.S.C. 227(b)(3)(B).

42. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. 227(b)(l),

Plaintit`f is entitled to and requests treble damages, as provided by statute, up to $1,500.00,

for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47 U.S.C.

227(b)(3)(C).

43. Plaintift` is entitled to and seeks injunctive relief prohibiting such conduct in the future,

44. Any other relief that this Honorable Court deems appropriate

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Aprii 24, 2018

RESPECTFULLY SUBMITTED,

By:/s/

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